              Case 3:20-cr-00249-RS         Document 94       Filed 06/06/22      Page 1 of 2




 1 STEPHANIE M. HINDS (CABN 149604)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 ANDREW F. DAWSON (CABN 264421)
   ROSS WEINGARTEN (NYBN 5236401)
 5 Assistant United States Attorneys

 6           450 Golden Gate Avenue, Box 36055
             San Francisco, California 94102-3495
 7           Telephone: (415) 436-7019
             Facsimile: (415) 436-7234
 8           andrew.dawson@usdoj.gov
             ross.weingarten@usdoj.gov
 9
     Attorneys for United States of America
10
                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                        ) CASE NO. 20-CR-00249 RS
                                                      )
15           Plaintiff,                               )
                                                        ORDER EXCLUDING TIME FROM MAY
16      v.                                            ) 31, 2022 TO AUGUST 30, 2022 UNDER
                                                      ) THE SPEEDY TRIAL ACT
17   ROWLAND MARCUS ANDRADE,                         ))
                                                      )
18           Defendant.                               )
                                                      )
19

20
             On May 31, 2022, the parties appeared for a status conference before this Court. The Court set a
21
     further status conference for August 30, 2022, and a trial date of August 7, 2023. In addition, the Court
22
     found that an exclusion of time under the Speedy Trial Act through August 30, 2022 for effective
23
     preparation of counsel was appropriate. Defendant is reviewing substantial discovery produced by the
24
     government, and failure to grant an exclusion of time and a continuance of the matter would deny
25
     counsel the reasonable time necessary for effective preparation, taking into account the exercise of due
26
     diligence, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv). The Court further finds that the ends of justice
27
     served by excluding the time from computation under the Speedy Trial Act outweigh the best interests
28

     ORDER CASE NO. 20-                              1
     CR-00249 RS
30
             Case 3:20-cr-00249-RS          Document 94        Filed 06/06/22   Page 2 of 2




 1 of the public and the defendant in a speedy trial.

 2          Therefore, IT IS HEREBY ORDERED that the time between and including May 31, 2022 to

 3 August 30, 2022 shall be excluded from computation under the Speedy Trial Act, pursuant to 18 U.S.C.

 4 § 3161(h)(7)(A), (B)(ii), and (B)(iv).

 5          IT IS SO ORDERED.

 6

 7 DATED:        June 8, 2022
                                                            HONORABLE RICHARD SEEBORG
 8                                                          United States District Judge

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

     ORDER CASE NO. 20-                                 2
     CR-00249 RS
30
